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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                       Richmond Division


SUNDARI KARMA PRASAD,

       Plaintiff,
V.                                                                     Civil Action No. 3:17CV35

WENDY S. HUGHES,et aL,

        Defendants.



                                  MEMORANDUM OPINION


        Sundari Karma Prasad, a Virginia inmate proceeding pro se, submitted this action. For

the reasons set forth below, the action will be dismissed for Prasad's failure to follow the

directives of the Court.

                           L Prasad^s Historv of Abusive Litigation

        In the last two years, Prasad has submitted over fifty civil actions. Prasad's actions have

been dismissed as frivolous and malicious, or for failure to state a claim, or because she has

failed to follow the directives of the Court. Prasad's many actions have strained the resources of

the Court.


        Litigants have an obligation to "'Stop, Think, Investigate and Research' before filing

papers either to initiate a suit or to conduct the litigation." Gaiardo v. Ethyl Corp., 835 F.2d 479,

482(3d Cir. 1987). Prasad has ignored this obligation and flooded the Court with her inchoate

claims for relief.

        Additionally, Prasad has engaged in a consistent pattern of disregarding the directives of

the Court. For example, the Court has informed Prasad that she may not tack on allegations or

defendants to a complaint through partial amendments, but must file a comprehensive amended

complaint. Prasad has ignored that directive. Moreover, because ofthe nature of her rambling
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complaints, it has been necessary for the Court to direct Prasad to file a particularized complaint

in each action she has filed. Those particularized complaints are often no better than the original

complaint. Even after filing a particularized complaint, and despite being repeatedly directed not

to do so, Prasad has continued to submit mere amendments to tack on claims or defendants

which she may not do. As the Court has explained to Prasad ad nauseum, although Prasad's pro

se status makes her "entitled to some deference," it does not relieve her of her duty to abide by

the rules and orders ofthis Court. Ballard v. Carlson^ 882 F.2d 93,96(4th Cir. 1989)(citation

omitted). Prasad has refused repeatedly to comply with the Court's directives. Further, many of

the claims in Prasad's cases are repetitive of claims made in prior actions.

       More recently, because Prasad has not liked the disposition of her actions, Prasad has

begun to name the undersigned as a defendant, simply because of the adverse decision. Prasad

believes that naming the undersigned as a defendant requires recusal of the undersigned.

However, that is simply not the case. An unfavorable ruling fails to constitute a valid basis for

recusal or a judicial bias claim. United States v. Williamson^ 213 F. App'x 235,237-38 (4th Cir.

2007)(citing Liteky v. United States, 510 U.S. 540, 555 (1994)). Rather, Prasad's addition of the

undersigned as a defendant in both pending and closed civil actions is both abusive and done in

bad faith. Another Judge of this Court has also found that Prasad's attempt to have the

undersigned recuse herselffor this reason was taken in bad faith. See Prasad v. Gothic Beauty

Magazine, No. 3:17CV446(E.D. Va. May 4, 2018), ECF Nos. 15, 16.

       By Memorandum Order entered on June 28, 2018, the Court directed Prasad, within

fourteen (14)days of the date of entry thereof, to submit a certificate of compliance in order to

assist the Court in monitoring Prasad's repetitious and multiplicitous litigation. The certificate of

compliance was required to contain in separately numbered paragraphs:
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        1.     A brief summary, not to exceed two (2) pages, explaining why the
               interests ofjustice warrant consideration of her current complaint.
        2.     A list by style, case number, and current status of all cases filed by Prasad
               within one year preceding the date of entry of this Memorandum Order
               that names each and every defendant that Prasad has named in this civil
               action.
        3.     A certification that the claims that she brings in this complaint are not
               raised in any other pending or closed action and set forth why each claim
               could not have been raised in one of her previous actions.
        4.     A certification that the claims that she has brought in this action have not
               been dismissed with prejudice.
        5.     A statement from Prasad under penalty of perjury that the statements made
               in the certificate of compliance are true.

(ECFNo. 14, at 2-3.)

                                     II. Prasad^s Response


        On July 13, 2018, Prasad filed her response to the June 28, 2018 Memorandum Order,

wherein she largely ignored the directives ofthe Court. (EOF No. 15.) For example,the

response fails to contain:

        3.     A certification that the claims that she brings in this complaint are not
               raised in any other pending or closed action and set forth why each claim
               could not have been raised in one of her previous actions.
        4.     A certification that the claims that she has brought in this action have not
               been dismissed with prejudice.
        5.     A statement from Prasad under penalty of perjury that the statements made
               in the certificate of compliance are true.

(EOF No. 14, at 3.) Instead, Prasad derides the Court's attempt to sort out her frivolous or

repetitive litigation and states: "(sections 3-5 listed in case compliance blah blah blahs) was

certified in the complaint form from the state or in the amended revision that I took so

LOVINGLY and dedicatedly long to craft ...." (ECF No. 15, at 1.) Prasad is incorrect.

Neither the Complaint(ECF No. 1), nor the Particularized Complaint(ECF No. 12), nor the

Amended Complaint(ECF No. 13), contains the requested information. Prasad also fails to

tender any coherent explanation as to why the interests ofjustice warrant the Court's review of

her current complaint.
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       Given Prasad's history of abusive litigation, her failure to abide by the directives of the

Court, her contumacious response to the June 28,2018 Memorandum Order, and the Court's

explicit warning that the failure to submit a proper response would result in the dismissal ofthe

action, dismissal with prejudice would be an appropriate sanction. See Ballard v. Carlson, 882

F.2d 93, 95-96 (4th Cir. 1989)(affirming dismissal with prejudice for failure to abide by the

court's order where the court explicitly warned the plaintiff that his case would be dismissed if

he failed to obey the court's order); Dove v. Codesco, 569 F.2d 807, 810(4th Cir, 1978)

(observing "that the dismissal power should be exercised 'only on the face of a clear record of

delay or contumacious conduct by the plaintiff"(quoting Dunham v. Fla. E. Coast Ry. Co., 385

F.2d 365, 368 (5th Cir, 1967))), Nevertheless, in this instance, the Court concludes the lesser

sanction of dismissal without prejudice will appropriately address Prasad's failure to abide by the

directives of the Court, Accordingly, the action will be DISMISSED WITHOUT PREJUDICE,

       An appropriate order will accompany this Memorandum Opinion,



                                                                      /s/
                                                      M,Hannah Lauck
                                                      United States District Judge
Date: OCT 0 5 2018
Richmond, Virginia
